      Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 1 of 59




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

RICHARD LEE BROWN, et al.,

   Plaintiffs,
                                         Case No. 1:20-cv-3702-JPB
      v.

ALEX AZAR, in his official capacity as
Secretary, U.S. Department of Health
& Human Services, et al.,

   Defendants.




            DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
              Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 2 of 59




                              TABLE OF CONTENTS
INTRODUCTION ............................................................................................................. 1

BACKGROUND................................................................................................................ 3

   I.     Statutory and Regulatory Background ............................................................... 3

   II.        The COVID-19 Pandemic ................................................................................... 7

   III.       The CDC Order ................................................................................................. 10

   IV.        Plaintiffs’ Claims ............................................................................................... 13

ARGUMENT ................................................................................................................... 15

   I.     Plaintiffs Lack Standing. ...................................................................................... 15

   II.        Plaintiffs Have Failed To Join Indispensable Parties. .................................. 18

   III.       Plaintiffs Are Not Entitled to Extraordinary Injunctive Relief. .................. 20

         A.      Plaintiffs Have Not Shown Irreparable Injury. ......................................... 21

           1. Plaintiffs’ Alleged Economic Losses Are Compensable. ......................... 22

           2. Plaintiffs Have Alleged No Irreparable Constitutional Violation. ......... 26

         B. Plaintiffs Have Not Shown A Likelihood of Success on the Merits. ......... 27

           1. The CDC Order Comports with the Requirements of the APA. ............ 27




                                                                 i
           Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 3 of 59




               a. CDC acted within its statutory and regulatory authority. ............... 27

               b. CDC’s Order is not arbitrary and capricious. ..................................... 38

         2. The Order Does Not Deny Plaintiffs Access to Courts. ........................... 41

      C. The Injunction Plaintiffs Seek Is Contrary to the Public Interest. .............. 44

   VI.     Any Relief Granted Should Be Narrowly Tailored. ..................................... 46

CONCLUSION ................................................................................................................ 47




                                                              ii
            Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 4 of 59




                                          TABLE OF AUTHORITIES

Abramski v. United States,
 573 U.S. 169 (2014) ....................................................................................................... 37

ACLU of Fla., Inc. v. Miami-Dade Cty. Sch. Bd.,
 557 F.3d 1177 (11th Cir. 2009) .................................................................................... 21

Ali v. Fed. Bureau of Prisons,
  552 U.S. 214 (2008) ................................................................................................. 34, 35

Auracle Homes, LLC v. Lamont,
 No. 20-00829, 2020 WL 4558682 (D. Conn. Aug. 7, 2020) ................................ 36, 44

Babbitt v. Sweet Home Ch. of Cmtys. for a Great Or.,
  515 U.S. 687 (1995) ....................................................................................................... 35

Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc.,
  462 U.S. 87 (1983) ......................................................................................................... 39

BellSouth Telecomms., Inc. v. MCIMetro Access Transmission Servs. LLC,
  425 F.3d 964 (11th Cir. 2005) ...................................................................................... 22

Boddie v. Connecticut,
  401 U.S. 371 (1971) ....................................................................................................... 42

Charlesbank Equity Fund II v. Blinds To Go, Inc.,
  370 F.3d 151 (1st Cir. 2004)......................................................................................... 24

Chevron U.S.A. Inc. v. Echazabal,
  536 U.S. 73 (2002) ......................................................................................................... 37

Christopher v. Harbury,
  536 U.S. 403 (2002) ....................................................................................................... 41

City of Arlington v. FCC,
  569 U.S. 290 (2013) ....................................................................................................... 32




                                                              iii
            Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 5 of 59




Commodities & Minerals Enter., Ltd. v. Citibank, N.A.,
  No. 12-22333, 2012 WL 12844749 (S.D. Fla. Aug. 16, 2012) ................................... 24

Comm’r v. Heininger,
  320 U.S. 467 (1943) ....................................................................................................... 38

Davis v. Goord,
 320 F.3d 346 (2d Cir. 2003) ......................................................................................... 43

Elmsford Apt. Assocs., LLC v. Cuomo,
  No. 20-4062, 2020 WL 3498456 (S.D.N.Y. June 29, 2020) ........................... 22, 23, 43

FERC v. Elec. Power Supply Ass’n,
  136 S. Ct. 760 (2016) .................................................................................................... 37

FHR TB, LLC v. TB Isle Resort, LP.,
 865 F. Supp. 2d 1172 (S.D. Fla. 2011) ........................................................................ 24

Fla. Wildlife Fed. Inc. v. U.S. Army Corps of Eng’rs,
  859 F.3d 1306 (11th Cir. 2017) ........................................................................ 18, 19, 20

Focus on the Family v. Pinellas Suncoast Transit Auth.,
  344 F.3d 1263 (11th Cir. 2003) .................................................................................... 19

Frejlach v. Butler,
  573 F.2d 1026 (8th Cir. 1978) ...................................................................................... 21

Friends of Earth, Inc. v. Laidlaw Envt’l Servs., Inc.,
  528 U.S. 167 (2000) ....................................................................................................... 15

Fund for Animals, Inc. v. Rice,
  85 F.3d 535 (11th Cir. 1996) ........................................................................................ 38

Ga. Republican Party v. SEC,
 888 F.3d 1198 (11th Cir. 2018) .............................................................................. 17, 18

Gill v. Whitford,
  138 S. Ct. 1916 (2018)................................................................................................... 46




                                                              iv
            Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 6 of 59




Gwinnett Cty. NAACP v. Gwinnett Cty. Bd. of Registration & Elections,
 446 F. Supp. 3d 1111 (N.D. Ga. 2020) ....................................................................... 26

Harer v. Casey,
 962 F.3d 299 (7th Cir. 2020) ........................................................................................ 43

Holland v. Nat’l Mining Ass’n,
 309 F.3d 808 (D.C. Cir. 2002)...................................................................................... 47

Jacobson v. Fla. Sec. of State,
  No. 19-14552, 2020 WL 5289377 (11th Cir. Sept. 3, 2020) ...................................... 17

Jameson v. Pine Hill Dev., LLC,
  No. 07-0111, 2007 WL 623807 (S.D. Ala. Feb. 23, 2007).......................................... 24

Jarecki v. G.D. Searle & Co.,
  367 U.S. 303 (1961) ....................................................................................................... 35

Kisor v. Wilkie,
  139 S. Ct. 2400 (2019)................................................................................................... 32

League of Indep. Fitness Facilities & Trainers, Inc. v. Whitmer,
  814 F. App’x 125 (6th Cir. 2020) .......................................................................... 36, 46

Lujan v. Defs. of Wildlife,
  504 U.S. 555 (1992) ....................................................................................................... 15

Madsen v. Women’s Health Ctr., Inc.,
 512 U.S. 753 (1994) ....................................................................................................... 46

Mahon v. U.S. Dep’t of Agric.,
 485 F.3d 1247 (11th Cir. 2007) .................................................................................... 27

Mamani v. Berzain,
 825 F.3d 1304 (11th Cir. 2016) .................................................................................... 37

Marshall v. United States,
 414 U.S. 417 (1974) ....................................................................................................... 33




                                                               v
            Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 7 of 59




Miccosukee Tribe of Indians of Fla. v. United States,
 566 F.3d 1257 (11th Cir. 2009) .............................................................................. 39, 41

Moreiras v. Scottsdale Ins. Co.,
 No. 20-21303, 2020 WL 2084851 (S.D. Fla. Apr. 30, 2020) ...................................... 19

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
 463 U.S. 29 (1983) ......................................................................................................... 39

Nat’l Parks Conservation Assoc. v. U.S. Dep’t of the Interior,
 835 F.3d 1377 (11th Cir. 2016) .................................................................................... 41

N.E. Fla. Chapter of the Ass’n of Gen. Contractors of Am. v. City of Jacksonville,
  896 F.2d 1283 (11th Cir. 1990) .................................................................................... 21

Nken v. Holder,
 556 U.S. 418 (2009) ....................................................................................................... 44

NLRB v. SW Gen., Inc.,
 137 S. Ct. 929 (2017)..................................................................................................... 37

Norfolk & W. Ry. Co. v. Am. Train Dispatchers Ass’n,
 499 U.S. 117 (1991) ....................................................................................................... 34

Palmer v. Braun,
  287 F.3d 1325 (11th Cir. 2002) .................................................................................... 21

Rosen v. Cascade Int’l, Inc.,
  21 F.3d 1520 (11th Cir. 1994) ...................................................................................... 22

S. Bay Pentecostal Church v. Newsom,
  140 S. Ct. 1613 (2020)................................................................................................... 33

Sampson v. Murray,
  415 U.S. 61 (1974) ......................................................................................................... 22

Siegel v. Lepore,
  234 F.3d 1163 (11th Cir. 2000) ........................................................................ 20, 21, 26




                                                              vi
            Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 8 of 59




Sierra Club v. Van Antwerp,
  526 F.3d 1353 (11th Cir. 2008) .................................................................................... 38

Smith v. Turner,
 48 U.S. 283 (1849) ........................................................................................................... 3

Snook v. Tr. Co. of Ga. Bank of Savannah, N.A.,
  909 F.2d 480 (11th Cir. 1990) ...................................................................................... 21

St. Lawrence Co. v. Alkow Realty, Inc.,
  453 So. 2d 514 (Fla. 4th Dist. Ct. App. 1984)............................................................ 22

Summers v. Earth Island Inst.,
  555 U.S. 488 (2009) ................................................................................................. 15, 18

Sunset Homeowners Ass’n v. Difrancesco,
  No. 19-16, 2019 U.S. Dist. LEXIS 65057 (W.D.N.Y. April 15, 2019) ...................... 20

Swain v. Junior,
  961 F.3d 1276 (11th Cir. 2020) .................................................................................... 45

Talleywhacker, Inc. v. Cooper, No.,
  No. 20-218, 2020 WL 3051207 (E.D.N.C. June 8, 2020) ..................................... 36, 45

TJM 64, Inc. v. Harris,
  No. 20-02498, 2020 WL 4352756 (W.D. Tenn. July 29, 2020) ..................... 36, 44, 46

Trump v. Hawaii,
  138 S. Ct. 2392 (2018)................................................................................................... 47

United States v. Askins & Miller Orthopaedics, P.A.,
 924 F.3d 1348 (11th Cir. 2019) .................................................................................... 25

United States v. Baldwin,
 774 F.3d 711 (11th Cir. 2014) ...................................................................................... 37

Waite v. All Acquisition Corp.,
 901 F.3d 1307 (11th Cir. 2018) .................................................................................... 19




                                                              vii
            Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 9 of 59




Statutes

5 U.S.C. § 706 ................................................................................................................... 27

42 U.S.C. § 264 .......................................................................................................... passim

Pub. L. No. 76-861, 54 Stat. 1178 (1940) ....................................................................... 44

Pub. L. No. 96-88, 93 Stat. 668 (1979) ............................................................................. 5

Pub. L. No. 116-136, 134 Stat. 281 (2020) ....................................................................... 9

Act of May 27, 1796, ch. 31, 1 Stat. 474 (1796) ............................................................... 3

Act of Feb. 25, 1799, ch. 12, 1 Stat. 619 (1799)................................................................ 4

Act of Feb. 15, 1893, ch. 114, 27 Stat. 449 (1893) ........................................................... 4

Rules

Fed. R. Civ. P. 12 ............................................................................................................. 18

Fed. R. Civ. P. 19 ............................................................................................................. 18

Regulations

42 C.F.R. § 70.1 .................................................................................................................. 6

42 C.F.R. § 70.2 ......................................................................................................... passim

42 C.F.R. § 70.3 .................................................................................................................. 7

42 C.F.R. § 70.6 .................................................................................................................. 7

42 C.F.R. § 70.12 ................................................................................................................ 7

42 C.F.R. § 70.18 ................................................................................................................ 7

31 Fed. Reg. 8855 (June 25, 1966) .................................................................................... 5




                                                               viii
          Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 10 of 59




65 Fed. Reg. 49906 (Aug. 16, 2000) ................................................................................. 6

Temporary Halt in Residential Evictions to Prevent the Further Spread of Covid-
  19, 85 Fed. Reg. 55292 .......................................................................................... passim




                                                           ix
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 11 of 59




                                INTRODUCTION

      These are extraordinary times. The United States is affected by a global

pandemic, during which the respiratory disease COVID-19 has infected tens of

millions worldwide and resulted in the death of more than 200,000 people within

our borders. See Temporary Halt in Residential Evictions To Prevent the Further

Spread of COVID-19, 85 Fed. Reg. 55292, 55292 (Sept. 4, 2020). The disease spreads

easily between persons within close contact (approximately six feet) via

respiratory droplets. Id. It can cause severe illness but may also be transmitted by

persons who are pre-symptomatic or asymptomatic—meaning that infected

persons have the potential to infect others unknowingly. Id. Despite drastic

measures by federal, state, and local government entities, including border

closures, stay-at-home orders, mask mandates, and travel restrictions, COVID-19

continues to spread. Id.

      In light of these rare circumstances, the Centers for Disease Control and

Prevention (CDC) has exercised its authority under the Public Health Service Act

(PHSA) and its implementing regulations to order a temporary halt in residential

evictions to prevent the further spread of COVID-19 (the Order). Id. CDC found




                                         1
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 12 of 59




that this moratorium is an effective public health measure because, among other

things, it facilitates self-isolation by ill and at-risk persons, eases implementation

of stay-at-home and social distancing measures, and decreases the likelihood that

persons will experience homelessness or move in to congregate settings, such as

crowded shelters, both of which increase the risk of COVID-19 spread. Id. at

55295–96. The Order protects only some of society’s most vulnerable: low-income

persons who have lost work or incurred extraordinary medical bills, have made

every effort to pay their rent, and would not have available housing options if

evicted. Id. at 55297. It does not excuse any tenant’s obligation to pay rent or

impair any landlord’s ability to impose fees, interest, or other penalties short of

eviction. Id. at 55292. Nor does it prevent landlords from evicting tenants for

reasons other than failure to pay rent timely, such as criminal activity or property

damage. Id. at 55294.

      Plaintiffs are several landlords who want to evict tenants who, they allege,

have claimed or might claim protection under the Order, as well as an organization

representing landlords. They seek emergency injunctive relief to invalidate the

Order. But Plaintiffs lack standing to bring suit. And they cannot meet any of the

elements required to qualify for such extraordinary relief in any event.           In




                                          2
        Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 13 of 59




particular, there is no irreparable harm where a plaintiff’s injury is monetary and

may be cured by damages. They are also unlikely to succeed on the merits because

they have not met their burden to show that the Order violates the Administrative

Procedure Act (APA) or denies any Plaintiff the right to access courts. And the

balance of the harms and public interest overwhelmingly favor the government,

which is acting to protect the citizenry at large from a potentially deadly disease,

as opposed to in the economic interests of a few. Finally, the relief Plaintiffs seek—

invalidation of a nationwide order issued to protect public health during a global

pandemic—is overbroad and disproportionate to their alleged injuries. For all of

these reasons, as explained below, Plaintiffs’ motion should be denied.

                                  BACKGROUND

   I.      Statutory and Regulatory Background

        The federal government has a long history of acting to combat the spread of

communicable disease. Congress enacted the first federal quarantine law in 1796

in response to a yellow fever outbreak, providing the President with the ability to

direct federal officials to help states enforce quarantine laws. Act of May 27, 1796,

ch. 31, 1 Stat. 474 (1796) (repealed 1799); see Smith v. Turner, 48 U.S. 283, 300 (1849).

Following a subsequent yellow fever outbreak, Congress repealed this Act,




                                           3
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 14 of 59




establishing in its place a federal inspection system for maritime quarantines. Act

of Feb. 25, 1799, ch. 12, 1 Stat. 619 (1799). And in 1893, Congress authorized the

Secretary of the Treasury to adopt additional regulations to prevent the

introduction of disease into the United States or across state lines where the

Secretary considered state or local regulation inadequate. Act of Feb. 15, 1893,

ch. 114, 27 Stat. 449 (1893).

      In 1944, Congress enacted the provision at issue here, section 361 of the

PHSA, as part of a broader effort to consolidate and clarify existing public health

laws. H.R. Rep. No. 78-1364, at 1 (1944). In section 361(a), Congress broadened

the federal government’s “basic authority to make regulations to prevent the

spread of disease into this country or between the States.” Id. at 24. For example,

Congress removed references to specific diseases to provide federal health

authorities flexibility to respond to new types of contagion and “expressly

sanction[ed] the use of conventional public-health enforcement methods” by the

federal government in disease-control efforts. Id. at 24–25.

      The resulting statute, 42 U.S.C. § 264, authorizes the Secretary of Health and




                                         4
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 15 of 59




Human Services (HHS) 1 “to make and enforce such regulations as in his judgment

are necessary to prevent the introduction, transmission, or spread of

communicable diseases from foreign countries into the States or possessions, or

from one State or possession into any other State or possession.” 42 U.S.C. § 264(a).

Subsection (a) further clarifies that “[f]or purposes of carrying out and enforcing

such regulations,” the Secretary “may provide for such inspection, fumigation,

disinfection, sanitation, pest extermination, destruction of animals or articles

found to be so infected or contaminated as to be sources of dangerous infection to

human beings, and other measures, as in his judgment may be necessary.” Id.

Subsection (b) imposes specific limits on the Secretary’s ability to “provide for the

apprehension, detention, or conditional release of individuals”—a power not

referenced in subsection (a)—mandating that such impositions on a person’s

physical movement be specified by Presidential Executive Order. Id. § 264(b).




1 Although the statute assigns authority to the Surgeon General, Reorganization
Plan No. 3 of 1966 abolished the Office of the Surgeon General and transferred all
statutory powers and functions of the Surgeon General to the Secretary of Health,
Education, and Welfare, now the Secretary of HHS, 31 Fed. Reg. 8855, 80 Stat. 1610
(June 25, 1966), see also Pub. L. No. 96-88, § 509(b), October 17, 1979, 93 Stat. 695
(codified at 20 U.S.C. 3508(b)). The Office of the Surgeon General was re-
established in 1987, but the Secretary has retained these authorities.




                                         5
        Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 16 of 59




Subsections (c) and (d) set further limits on the detention of individuals. See id.

§ 264(c)–(d). The final subsection provides that the statute and any regulation

adopted thereunder supersede state law “to the extent that such a provision

conflicts with an exercise of Federal authority.” Id. § 264(e).

        The Secretary of HHS has promulgated regulations implementing these

provisions and delegating their enforcement to CDC. See 42 C.F.R. pt. 70; 65 Fed.

Reg. 49906, 49907 (Aug. 16, 2000). In particular, 42 C.F.R. § 70.2 provides the CDC

Director (or his or her authorized representative) with discretion to take measures

to address uncontrolled contagion. 2       Specifically, where the CDC Director

“determines that the measures taken by health authorities of any State or

possession (including political subdivisions thereof) are insufficient to prevent the

spread of any of the communicable diseases” between or among States, he is

empowered to “take such measures to prevent such spread of the diseases as

he/she deems reasonably necessary.” 42 C.F.R. § 70.2. These measures include,

but are not limited to, “inspection, fumigation, disinfection, sanitation, pest




2 Theterm “Director” as used in these regulations signifies “the Director, Centers
for Disease Control and Prevention, Department of Health and Human Services,
or another authorized representative.” 42 C.F.R. § 70.1.




                                          6
         Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 17 of 59




extermination, and destruction of animals or articles believed to be sources of

infection.” Id. Other regulations authorize CDC to limit interstate travel, see 42

C.F.R. § 70.3, apprehend and detain persons, id. § 70.6, and conduct medical

examinations, id. § 70.12, to control the spread of disease.        The regulations

additionally provide for penalties for violations of these regulations. Id. § 70.18.

   II.     The COVID-19 Pandemic

         In December 2019, a novel coronavirus dubbed SARS-CoV-2 was first

detected in Wuhan, Hubei Province, in the People’s Republic of China. See

Declaring a National Emergency Concerning the Novel Coronavirus Disease

(COVID-19) Outbreak, 85 Fed. Reg. 15337 (Mar. 13, 2020). The virus causes a

respiratory disease known as COVID-19. Id.

         COVID-19 is a serious illness that spreads easily. Contracting COVID-19

poses a risk of “severe” respiratory illness, meaning that persons who have the

disease may require hospitalization, intensive care, or the use of a ventilator. 85

Fed. Reg. at 55292. Severe cases of COVID-19 may be fatal. Id. The likelihood of

becoming severely ill is greater among certain vulnerable populations. Id. at

55295. CDC has cautioned that the virus that causes COVID-19 transmits “very

easily and sustainably” between people within “close contact”—approximately six




                                          7
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 18 of 59




feet—of one another. Id. at 55293. Persons not displaying symptoms are capable

of transmitting the virus. Id. at 55292.

      From its origins in late 2019, COVID-19 spread quickly across the globe,

including to the United States. See 85 Fed. Reg. at 15337. On January 31, 2020, the

Secretary of HHS declared a public health emergency due to the rise in confirmed

COVID-19 cases in this country. Determination that a Public Health Emergency

Exists, https://www.phe.gov/emergency/news/healthactions/phe/Pages/

2019-nCoV.aspx (Jan. 31, 2020).        On March 11, 2020, the World Health

Organization classified the COVID-19 epidemic as a pandemic due to the increase

in infections throughout the world, including in the United States. 85 Fed. Reg. at

15337. On March 13, 2020, the President declared the COVID-19 outbreak a

national emergency. Id. By late August 2020 the virus had spread to all 50 states.

85 Fed. Reg. at 55292. To date, it has infected over seven million and caused the

death of over 200,000 persons within the United States. See CDC COVID Data

Tracker, https://covid.cdc.gov/covid-data-tracker/#cases_casesinlast7days (last

visited Oct. 2, 2020). New cases continue to be reported daily, see id., and CDC

has called COVID-19 “a historic threat to public health.” 85 Fed. Reg. at 55294.

      To combat the spread of this easily transmitted, widespread, and potentially




                                           8
        Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 19 of 59




deadly virus, governments at all levels have taken “unprecedented or exceedingly

rare actions” in the interest of protecting the public health. Id. These include

border closures, travel restrictions, stay-at-home orders, and mask requirements.

Id. In March 2020, Congress provided a 120-day moratorium on eviction filings

based on nonpayment of rent, as well as other protections, to tenants residing in

certain federally financed rental properties. CARES Act, Pub. L. No. 116-136,

§ 4024, 134 Stat. 281 (2020). Although this measure temporarily helped mitigate

the public health effects of tenant displacement during the pandemic, it expired

on July 24, 2020. 85 Fed. Reg. at 55294. And while certain States implemented

their own temporary eviction moratoria, see, e.g., New York Tenant Safe Harbor

Act, S.8192B/A.10290B (Jun. 30, 2020), some such measures have also begun to

expire. 3   See 85 Fed Reg. at 55296 n.36.   Other States provided no separate

protection for renters during the pandemic. Id.


3See, e.g., In Re: Amendment of the Eighth Order Extending Declaration of Judicial
Emergency            in      Response       to       COVID-19        Emergency,
https://www.governor.virginia.gov/media/governorvirginiagov/governor-of-
virginia/pdf/ORD-08-07-2020-Amendment-of-8th-DJE-order.pdf              (Virginia
moratorium expired Sept. 7, 2020); State of Connecticut, Executive Order No.
7DDD,            https://portal.ct.gov/-/media/Office-of-the-Governor/Executive-
Orders/Lamont-Executive-Orders/Executive-Order-No-7DDD.pdf (Connecticut
moratorium expired August 24, 2020).




                                        9
          Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 20 of 59




   III.      The CDC Order

      In light of these circumstances, on September 4, 2020, CDC issued an Order

under 42 U.S.C. § 264(a) and 42 C.F.R. § 70.2 providing for a temporary halt on

residential evictions until December 31, 2020. 85 Fed. Reg. at 55292. The agency

found this moratorium “a reasonably necessary measure . . . to prevent the further

spread of COVID-19,” and that state and local measures that did not meet or

exceed its protections were insufficient to prevent interstate spread. Id. at 55296.

      CDC determined that eviction moratoria help reduce the risk of

transmission of COVID-19. Id. at 55294. They do so by facilitating self-isolation

for sick and high-risk persons, easing implementation of stay-at-home orders and

social distancing measures, reducing the need for congregate housing, and helping

to prevent homelessness. Id.

      As CDC explained, evictions present a public health concern because the

movement of evicted renters could lead to “multiple outcomes that increase the

risk of COVID-19 spread.” Id. First, evicted renters are likely to move in with

friends or family, leading to potential household crowding with new sources of

infection.     Id.   This increases the risk of spreading COVID-19 because

“transmission occurs readily within households,” and “household contacts are




                                         10
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 21 of 59




estimated to be 6 times more likely to become infected by an index case of COVID-

19 than other close contacts.” Id.

      Second, the risk of transmission in shared housing increases exponentially

if evicted persons move into congregate settings, such as homeless shelters,

transitional housing, or domestic violence shelters. Id. Maintaining social distance

may be difficult in these settings, especially where residents must share small

spaces, like stairwells and elevators, or equipment, such as kitchen or laundry

facilities. Id. Indeed, “extensive outbreaks of COVID-19 have been identified in

homeless shelters,” including in Seattle, Boston, and San Francisco. Id. at 55295.

These public health risks “may increase seasonally” as persons experiencing

homelessness seek shelter in colder months. Id. at 55296.

      Finally, evicted persons may experience unsheltered homelessness, which

places them at “a higher risk for infection where there is community spread of

COVID-19.” Id. at 55295. Their vulnerability to COVID-19 is higher due to

exposure to the elements, as well as inadequate access to hygiene, sanitation, and

healthcare. Id. The risk of unsheltered homelessness has increased during the

pandemic, where safety precautions at shelters have reduced their capacities. Id.

      In addition, research suggests that persons who would be evicted and




                                        11
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 22 of 59




become homeless as a result “include many who are predisposed to developing

severe disease from COVID-19.” Id. For example, evicted persons are more likely

to experience hypertension, an underlying condition associated with severe

COVID-19. Id. And among patients with COVID-19, experiencing homelessness

has been associated with an increased likelihood of hospitalization. Id. at 55296.

      These negative public health consequences could become enormous if

evictions were to proceed unchecked during the pandemic. Id. at 55294–95.

Research suggests that as many as 30 to 40 million people in the United States

could be at risk of eviction in the absence of state and local protections. Id. at 55295.

“A wave of evictions on that scale would be unprecedented in modern times.” Id.

Given that approximately 15 percent of moves each year are estimated to be

interstate, “mass evictions would likely increase the interstate spread of COVID-

19.” Id.

      CDC thus determined that it was reasonably necessary to prevent the

interstate spread of COVID-19 to order that “a landlord . . . shall not evict any

covered person from any residential property in any State . . . that provides a level

of public-health protections below the requirements listed in [the] Order.” Id. at

55296. To qualify as “covered persons,” tenants must certify under penalty of




                                           12
         Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 23 of 59




perjury that they have (1) used best efforts to obtain government assistance to

make rental payments; (2) expect to earn less than $99,000 in annual income in

2020, were not required to pay income taxes in 2019, or qualified for a stimulus

check under the CARES Act; (3) are unable to pay full rent due to “substantial loss

of household income, loss of compensable hours of work or wages, lay-offs, or

extraordinary out-of-pocket medical expenses”; (4) are using best efforts to make

partial payments; (5) would likely experience homelessness or need to move into

a shared residence if evicted; (6) understand that rent obligations still apply; and

(7) understand that the moratorium ends on December 31, 2020. Id. at 55297.

      The Order does not alter a tenant’s obligation to pay rent or comply with

any other contractual obligation. Id. at 55294. It does not prevent the accrual or

collection of fees, penalties, or interest under the terms of an applicable contract.

Id. It also does not prevent evictions of persons who do not qualify as “covered

persons,” or evictions based on circumstances other than nonpayment of rent,

including criminal activity, damage to property, or violation of contractual

obligations other than the timely payment of rent. Id.

   IV.     Plaintiffs’ Claims

      Plaintiffs are four individual landlords and a “trade association for owners




                                         13
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 24 of 59




and managers of rental housing.” Am. Compl. ¶¶ 1–5 (ECF No. 12). Each

individual Plaintiff alleges that he or she has rented a residential property to

tenants who have fallen behind on rent payments, and who either have asserted

or might assert that they are covered persons under the CDC Order. Id. ¶¶ 45–85.

Each landlord desires to seek an eviction in his or her respective state, each of

which is alleged not to provide greater protection than the Order. Id. ¶¶ 49–50, 59,

62, 72–75, 78–80. Each claims he or she has incurred and will continue to incur

economic damage as a result of the tenants’ nonpayment of rent, asserts that his

or her tenants are likely insolvent, and alleges that eviction of the tenants is

necessary to mitigate monetary losses. Id. ¶¶ 55–57, 64–66, 77, 83–85.

      Plaintiff trade organization, the National Apartment Association (NAA),

alleges that it has more than 85,000 members managing rental units in all 50 states.

Id. ¶ 86. Although it claims that its members generally are similarly situated to the

four individual plaintiffs, id. ¶¶ 87–92, it identifies no individual member.

      Plaintiffs’ amended complaint raises eight challenges to the CDC Order. Id.

¶¶ 93–175. They press only three of these claims in their preliminary injunction

motion: that Defendants exceeded their statutory authority in violation of the

APA; acted arbitrarily and capriciously; and impaired their ability to access courts.




                                         14
        Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 25 of 59




Pls.’ Br. in Supp. of Mot. for Prelim. Injunction (Pls.’ Br.) 16–34 (ECF No. 18-1).

                                   ARGUMENT

        Plaintiffs’ motion for preliminary injunction should be denied because their

suit is jurisdictionally defective, they failed to join indispensable parties, and they

have not carried their burden to demonstrate each of the four elements necessary

to warrant the extraordinary remedy of injunctive relief.

   I.       Plaintiffs Lack Standing.

        “[T]he irreducible constitutional minimum of standing contains three

elements”: injury, causation, and redressability. Lujan v. Defs. of Wildlife, 504 U.S.

555, 560 (1992). Where, as here, an association files suit on behalf of its members,

see Am. Compl. ¶¶ 87–92, it has standing only where “its members would

otherwise have standing to sue in their own right, the interests at stake are

germane to the organization’s purpose, and neither the claim asserted nor the

relief requested requires the participation of individual members in the lawsuit,”

Friends of Earth, Inc. v. Laidlaw Envt’l Servs., Inc., 528 U.S. 167, 181 (2000).

Associational plaintiffs must “make specific allegations establishing that at least

one identified member had suffered or would suffer harm” to show associational

standing.     Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009).      Here, the




                                          15
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 26 of 59




individual Plaintiffs lack standing for failure to properly allege injury in fact

caused by the Order because, according to their own allegations, the Order does

not apply to their situations. Nor does the NAA have standing, as it has failed to

identify any individual member harmed by the Order.

      As an initial matter, each of the individual Plaintiffs alleges that his or her

tenants have caused “damages to his property.” Am. Compl. ¶¶ 55, 64, 77, 83.

The Order expressly permits evictions due to a tenant “damaging or posing an

immediate and significant risk of damage to property.” 85 Fed. Reg. at 55294. The

Order thus does not preclude the individual Plaintiffs from evicting tenants who,

according to their own allegations, have damaged their property. They have

therefore suffered no concrete injury as a result of the Order.

      Second, two of the individual Plaintiffs’ tenants do not appear to have

submitted the sworn declaration required for them to qualify as “covered persons”

entitled to protection under the Order. See Am. Compl. ¶ 51 (“Upon information

and belief, Mr. Brown’s tenant is a ‘covered person’ under the CDC Order.”); id. at

¶ 53 (“Mr. Brown intends to violate the CDC Order even if his tenant presents an

attestation in eviction proceedings that she is a ‘covered person’ as defined in the

CDC Order.”); id. at ¶ 81 (“Based on information provided to Ms. Jones by her




                                         16
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 27 of 59




tenant, and the tenant’s representations in court, Ms. Jones’ tenant is a ‘covered

person’ as defined by the CDC order.”). The submission of a declaration under

penalty of perjury—not an assumption that the Order applies—is a threshold

requirement for the Order to apply. See 85 Fed. Reg. at 55292 (“To invoke the

CDC’s order [covered] persons must provide an executed copy of the Declaration

form (or a similar declaration under penalty of perjury) to their landlord.”

(emphasis added)). Unless and until these Plaintiffs’ tenants have submitted the

required sworn attestation, the Order does not, by its plain terms, apply to them,

and they have no standing to challenge it.

      Further, although Plaintiff NAA has alleged injury to its members as a

general matter, it has not included specific allegations of injury to any individual

member. See Am. Compl. ¶¶ 87–92; see generally Pinnegar Decl. (ECF No. 18-6).

Dismissal for lack of standing is appropriate where an organizational plaintiff fails

to identify at least one member who suffered an injury in fact. See Ga. Republican

Party v. SEC, 888 F.3d 1198, 1204 (11th Cir. 2018) (dismissing organization that

“failed to identify at least one member who has or will suffer harm”); see also

Jacobson v. Fla. Sec. of State, No. 19-14552, 2020 WL 5289377, at *7 (11th Cir. Sept. 3,

2020). Even given NAA’s purportedly large membership, concrete injury to its




                                          17
         Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 28 of 59




individual members cannot be assumed. See Summers, 555 U.S. at 497 (refusing to

assume “there [was] a statistical probability that some of [the plaintiff-

organization’s] members [were] threatened with concrete injury”); Ga. Republican

Party, 888 F.3d at 1204 (“the Supreme Court has rejected probabilistic analysis as a

basis for conferring standing”). This is particularly true because, as the individual

Plaintiffs demonstrate, whether the Order affects a landlord is a fact-dependent

question involving tenants’ specific circumstances.

   II.      Plaintiffs Have Failed To Join Indispensable Parties.

         Plaintiffs are also unlikely to succeed due to a separate threshold deficiency:

failure to join indispensable parties.      See Fed. R. Civ. P. 19; cf. Fed. R. Civ.

P. 12(b)(7). A plaintiff cannot obtain relief in a party’s absence where (1) the absent

party is “required by virtue of its interest in or importance to the action” and (2)

the action cannot “in equity and good conscience, . . . proceed when [the] required

party cannot be joined.” Fla. Wildlife Fed. Inc. v. U.S. Army Corps of Engineers, 859

F.3d 1306, 1316 (11th Cir. 2017) (citations omitted). A party is “required” if he has

“an interest relating to the subject matter of the action” and “disposing of the

action in [his] absence may . . . as a practical matter impair or impede [his] ability

to protect the interest.” Fed. R. Civ. P. 19. This test turns on “pragmatic concerns,




                                            18
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 29 of 59




especially the effect on the parties and the litigation.” Focus on the Family v. Pinellas

Suncoast Transit Auth., 344 F.3d 1263, 1280 (11th Cir. 2003). Joinder is not feasible

where “the absent party is not subject to the court’s personal jurisdiction.”

Moreiras v. Scottsdale Ins. Co., No. 20-21303, 2020 WL 2084851, at *2 (S.D. Fla. Apr.

30, 2020). And whether a suit may proceed in a required party’s absence depends

on a weighing of factors, including whether the absent party would be prejudiced.

Fla. Wildlife Fed’n, 859 F.3d at 1318.

      Here, each of Plaintiffs’ tenants is a required party due to both their

importance to and interest in the litigation. As discussed supra, the underlying

actions of the tenants are critical to whether the Order applies to each Plaintiff.

And the tenants undoubtedly have an interest in this litigation because each faces

potential eviction if Plaintiffs prevail. See Brown Decl. ¶¶ 8–9 (ECF No. 18-2);

Rondeau Decl. ¶¶ 9, 11 (ECF No. 18-3); Krausz Decl. ¶¶ 9–10 (ECF No. 18-4); Jones

Decl. ¶¶ 4–5 (ECF No. 18-5).

      At least three of the absent tenants likely could not be joined in this suit due

to lack of personal jurisdiction. Due process requires “minimum contacts” with a

forum state before its courts may exercise jurisdiction over a party, see, e.g., Waite

v. All Acquisition Corp., 901 F.3d 1307, 1312 (11th Cir. 2018), and Plaintiffs allege no




                                           19
          Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 30 of 59




contacts with Georgia with respect to the tenants of Plaintiffs Brown, Rondeau,

and Krausz, who rent properties, respectively, in Virginia, North Carolina, and

South Carolina, see Am. Compl. ¶¶ 13–27.

      Even if Plaintiff Jones’s tenants could be joined, the suit should not proceed

in the absence of the other tenants, who would be unduly prejudiced by their

inability to participate in litigation that directly concerns their behavior and affects

their ability to remain in their homes. See, e.g., Fla. Wildlife Fed’n, 859 F.3d at 1318.

Plaintiffs are thus unlikely to prevail. See, e.g., Sunset Homeowners Ass’n v.

Difrancesco, No. 19-16, 2019 U.S. Dist. LEXIS 65057, at *32 (W.D.N.Y. April 15, 2019)

(collecting cases denying preliminary injunctions for “failure to demonstrate a

likelihood of success on the merits where a necessary party has not been joined”).

   III.     Plaintiffs Are Not Entitled to Extraordinary Injunctive Relief.

      A preliminary injunction is an “extraordinary and drastic remedy not to be

granted unless the movant [has] clearly established the ‘burden of persuasion’ as

to each of the four prerequisites.’” Siegel v. Lepore, 234 F.3d 1163, 1176 (11th Cir.

2000) (citation omitted). The movant must show (1) “a substantial threat of

irreparable injury”; (2) “a substantial likelihood of success on the merits”; (3) “the

threatened injury to the plaintiff outweighs the potential harm to the defendant”;




                                           20
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 31 of 59




and (4) “the injunction will not disserve the public interest.” Palmer v. Braun, 287

F.3d 1325, 1329 (11th Cir. 2002). Failure to show any one of these factors is “fatal.”

ACLU of Fla., Inc. v. Miami-Dade Cty. Sch. Bd., 557 F.3d 1177, 1198 (11th Cir. 2009).

       A. Plaintiffs Have Not Shown Irreparable Injury.

       “A showing of irreparable harm is ‘the sine qua non of injunctive relief.’”

N.E. Fla. Chapter of the Ass’n of Gen. Contractors of Am. v. City of Jacksonville, 896 F.2d

1283, 1285 (11th Cir. 1990) (quoting Frejlach v. Butler, 573 F.2d 1026, 1027 (8th Cir.

1978)). Even where a plaintiff can establish a substantial likelihood of success on

the merits—which for the reasons explained infra in Part III.B, Plaintiffs here

cannot—injunctive relief is inappropriate without a showing of irreparable harm.

See Snook v. Tr. Co. of Ga. Bank of Savannah, N.A., 909 F.2d 480, 486 (11th Cir. 1990)).

The Eleventh Circuit has “emphasized on many occasions” that an “asserted

irreparable injury ‘must be neither remote nor speculative, but actual and

imminent.’” Siegel, 234 F.3d at 1176 (quoting City of Jacksonville, 896 F.2d at 1285).

Here, Plaintiffs claim irreparable harm as a result of “noncompensable loss of the

value of their property” and unspecified constitutional violations. Pls.’ Br. 36.

Neither of these alleged injuries fulfills Plaintiffs’ burden.




                                            21
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 32 of 59




             1. Plaintiffs’ Alleged Economic Losses Are Compensable.

      As Plaintiffs recognize, see Pls.’ Br. 34–35, “[a]n injury is ‘irreparable’ only if

it cannot be undone through monetary remedies.” City of Jacksonville, 896 F.2d at

1285; see also BellSouth Telecomms., Inc. v. MCIMetro Access Transmission Servs. LLC,

425 F.3d 964, 970 (11th Cir. 2005) (“economic losses alone do not justify a

preliminary injunction”). Even economic injuries that are “substantial, in terms of

money, time and energy necessarily expended in the absence of a stay, are not

enough.” Sampson v. Murray, 415 U.S. 61, 90 (1974) (citation omitted).

      Plaintiffs’ alleged financial injuries have a remedy: they may sue their

tenants for unpaid rent. See Elmsford Apt. Assocs., LLC v. Cuomo, No. 20-4062, 2020

WL 3498456, at *15 (S.D.N.Y. June 29, 2020) (pointing out, with respect to the New

York state eviction moratorium, that “tenants are still bound to their contracts, and

the landlord may obtain a judgment for unpaid rent if the tenants fail to honor

their obligations”). The Eleventh Circuit has found the irreparable-harm element

lacking where a plaintiff had, but failed to pursue, an adequate state-law remedy.

Rosen v. Cascade Int’l, Inc., 21 F.3d 1520, 1531 (11th Cir. 1994) (“The test of the

inadequacy of a remedy at law is whether a judgment could be obtained, not

whether, once obtained it will be collectible.” (quoting St. Lawrence Co. v. Alkow




                                          22
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 33 of 59




Realty, Inc., 453 So. 2d 514, 514–15 (Fla. 4th Dist. Ct. App. 1984))). The CDC Order

“does not relieve any individual of any obligation to pay rent, make a housing

payment, or comply with any other [contractual] obligation.” 85 Fed. Reg. at

55292. Nor does it “preclude[] the charging or collecting of fees, penalties, or

interest as a result of the failure to pay rent or other housing payment on a timely

basis.” Id. Accordingly, by its plain terms, the Order does not relieve Plaintiffs’

tenants of their obligations to make rental payments; it also does not constrain

Plaintiffs’ ability to pursue available legal remedies to seek payment.

      Plaintiffs do not challenge any of these points but argue instead that their

economic damages may be mitigated only by evicting their current tenants and

renting to others because, they assert, their current tenants are insolvent. See Pls.’

Br. 36–37. This contention fails for two reasons. First, the Order does not preclude

Plaintiffs from taking such an action; it merely postpones this remedy for a limited

amount of time in furtherance of urgent public health goals. See Elmsford, 2020 WL

3498456, at *15 (“The eviction moratorium does not eliminate the suite of

contractual remedies available to the Plaintiffs; it merely postpones the date on

which landlords may commence summary proceedings against their tenants.”). A

court in the Southern District of Ohio recently denied a landlord’s motion for a




                                         23
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 34 of 59




temporary restraining order in a nearly identical challenge to the CDC Order on

this basis. As it explained, “Plaintiff has not demonstrated that enforcement of the

CDC’s Order will cause it irreparable harm,” only that it “postpones Plaintiff’s

collection of debt until after its expiration.” Order, KBW Inv. Props. LLC v. Azar,

No. 20-4852 (Sept. 25, 2020 S.D. Ohio) (ECF No. 16). So too here.

      Second, Plaintiffs’ conclusory assertions that their tenants are insolvent lack

support. See Brown Decl. ¶ 14; Rondeau Decl. ¶ 13; Krausz Decl. ¶ 14; Jones Decl.

¶ 10. Courts within this Circuit routinely find that a plaintiff’s economic harm is

not irreparable where fears that a judgment would not be collectible were

“unsupported” or “speculative.” Commodities & Minerals Enter., Ltd. v. Citibank,

N.A., No. 12-22333, 2012 WL 12844749, at *5 (S.D. Fla. Aug. 16, 2012) (“The

possibility that [defendant] will be insolvent and unable to pay a future arbitration

award is unsupported, speculative, and does not constitute irreparable harm.”). 4



4See also, e.g., FHR TB, LLC v. TB Isle Resort, LP., 865 F. Supp. 2d 1172, 1213 (S.D.
Fla. 2011) (plaintiff’s concerns that defendant could not pay damages were
“speculative and, even if supported by some specific evidence, are typically
inadequate to create the necessary irreparable harm”); Jameson v. Pine Hill Dev.,
LLC, No. 07-0111, 2007 WL 623807, at *5 (S.D. Ala. Feb. 23, 2007) (“Any suggestion
that defendants are or may become unable to satisfy a monetary judgment . . . is
so speculative that it cannot rise to the level of irreparable harm . . . .”); accord
Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151, 162 (1st Cir. 2004) (“A




                                          24
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 35 of 59




On the other hand, the Eleventh Circuit has found that a defendant’s insolvency

may constitute irreparable harm only in “extraordinary circumstances” where a

plaintiff has made a well-supported showing that a future monetary judgment will

be inadequate. See United States v. Askins & Miller Orthopaedics, P.A., 924 F.3d 1348,

1359 (11th Cir. 2019) (determining defendant was “judgment-proof” where

evidence demonstrated that for “several years, [plaintiff] expended considerable

resources making numerous—and unsuccessful—attempts to collect”).

      Moreover, the individual circumstances of the Plaintiffs weigh against a

finding that their economic damages are collectively irreparable. Plaintiff Brown,

for example, claims damages suggesting his tenant has failed to pay rent for over

eight months, or since at least January 2020; he thus appears not to have pursued

remedies for alleged nonpayment of rent even prior to the declaration of the

pandemic. See Brown Decl. ¶¶ 5–6. Two of the other individual landlords assert

that their tenants made rental payments as recently as July 2020. See Rondeau

Decl. ¶ 7; Krausz Decl. ¶ 8. And only Plaintiff Rondeau has asserted (without

evidence) that he may have difficulty paying his mortgage as a result of his current



finding of irreparable harm must be grounded on something more than conjecture,
surmise, or a party’s unsubstantiated fears of what the future may have in store.”).




                                         25
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 36 of 59




tenant’s nonpayment.     See Rondeau Decl. ¶ 14.        All of these facts undercut

Plaintiffs’ claim that their harm is “irreparable,” such that extraordinary

nationwide relief is necessary on an expedited basis. And individualized issues

with demonstrating irreparable harm are only magnified with a large organization

like NAA, which has not made any specific allegations about irreparable harm its

members will suffer as a result of the Order. See Pinnegar Decl. ¶ 5.

             2. Plaintiffs Have Alleged No Irreparable Constitutional Violation.

      Plaintiffs’ only other assertion of irreparable harm is a vague allusion to

constitutional violations. Pls.’ Br. 36.      The Eleventh Circuit has rejected the

“conten[tion] that a violation of constitutional rights always constitutes

irreparable harm.” Siegel, 234 F.3d at 1177 (citing cases). Rather, “[t]he only areas

of constitutional jurisprudence where we have said that an on-going violation may

be presumed to cause irreparable injury involve the right of privacy and certain

First Amendment claims.” Id. at 1178. Neither the right to privacy nor the First

Amendment are at issue here. In any event, Plaintiffs cannot fulfill their burden

to show irreparable harm with vague reference to constitutional injury.          See

Gwinnett Cty. NAACP v. Gwinnett Cty. Bd. of Registration & Elections, 446 F. Supp.

3d 1111, 1125–26 (N.D. Ga. 2020) (no irreparable harm where plaintiffs “allude[d]




                                         26
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 37 of 59




to a general constitutional harm,” but “failed to articulate any specifics”).

      B. Plaintiffs Have Not Shown A Likelihood of Success on the Merits.

      Although Plaintiffs’ amended complaint raises numerous challenges to the

Order, their preliminary injunction motion presses only their APA and right-of-

access-to-courts claims. See Pls.’ Br. 16–34. None of these claims is substantially

likely to succeed on the merits.

              1. The CDC Order Comports with the Requirements of the APA.

      Under the APA, a court may set aside agency action only when it determines

that action is “arbitrary, capricious, an abuse of discretion, unconstitutional, in

excess of statutory authority, without observance of procedure as required by law,

or unsupported by substantial evidence.” Mahon v. U.S. Dep’t of Agric., 485 F.3d

1247, 1253 (11th Cir. 2007); see 5 U.S.C. § 706(2). Plaintiffs’ claims that CDC

exceeded its statutory and regulatory authority, Pls.’ Br. 16–23, and that the Order

is arbitrary and capricious, id. at 24–28, both fail.

              a. CDC acted within its statutory and regulatory authority.

      Congress vested the Secretary of HHS with broad authority to take decisive

action if required to control the spread of dangerous infectious diseases, which the

Secretary has delegated to the public health experts at the CDC. See 42 U.S.C.




                                           27
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 38 of 59




§ 264; 42 C.F.R. § 70.2. CDC acted within the scope of that authority and in the

interest of public health in issuing the challenged Order.

      Section 361 of the PHSA empowers the Secretary “to make and enforce such

regulations as in his judgment are necessary to prevent the introduction,

transmission, or spread of communicable diseases” from abroad or among the

states. 42 U.S.C. § 264(a) (emphasis added). The plain text of the statute thus

evinces a legislative determination to defer to the “judgment” of public health

authorities about what measures they deem “necessary” to prevent contagion, see

id.—a determination made in the light of history and experience, given the havoc

wreaked by past scourges like yellow fever, see supra pp. 3–4. And the examples

Congress gave of specific measures the Secretary may take to control infectious

disease—which are illustrative, not exhaustive—underscore the breadth of this

authority, showing that it may infringe on personal liberties or property rights

where needed to protect the public health. Such measures include the authority

to impose limitations on individuals’ freedom of movement, including the

“apprehension, detention, or conditional release of individuals.” Id. § 264(b)–(c).

They also include intrusions on private property, such as its “inspection,

fumigation, disinfection, sanitation,” and even “destruction.” Id. § 264(a).




                                        28
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 39 of 59




      The regulations implementing section 361 delegate to the CDC Director the

authority, in the event of state control measures insufficient to prevent the

interstate spread of disease, to “take such measures to prevent such spread of the

diseases as he/she deems reasonably necessary.” 42 C.F.R. § 70.2. Like the statute,

the regulation gives the Director broad authority to take measures that he deems

necessary to protect public health. See id. It makes clear that, in order to control

disease transmission, intrusions on private property, such as “inspection,

fumigation, disinfection, sanitation,” and even “destruction” may be required. Id.

       Here, CDC’s determination that a “temporary halt in evictions” is a

“reasonably necessary measure under 42 C.F.R. 70.2 to prevent the further spread

of COVID–19 throughout the United States,” 85 Fed. Reg. at 55296, is well

supported and falls firmly within the scope of its authority.

      A number of findings support CDC’s decision. First is the understanding

that “[t]he virus that causes COVID-19 spreads very easily and sustainably

between people who are in close contact with one another (within about 6 feet).”

Id. at 55293.   In addition, research suggests that, in the absence of eviction

moratoria, tens of millions of Americans could be at risk of eviction, on a scale that

would be “unprecedented in modern times.” Id. at 55295. The CDC has also




                                         29
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 40 of 59




determined that, in light of statistics regarding interstate moves, such “mass

evictions would likely increase the interstate spread of COVID-19.” Id.

      Based on this knowledge, CDC found that, in the context of this pandemic,

eviction moratoria are an “effective public health measure utilized to prevent the

spread of communicable disease.” Id. Eviction moratoria “facilitate self-isolation”

by ill or at-risk persons; aid the implementation of “stay-at-home and social

distancing directives,” and, by reducing homelessness, decrease “the likelihood of

individuals moving into close quarters in congregate settings.” Id.

      Evictions increase the risk of the spread of COVID-19 in multiple ways. An

evicted renter who cannot afford alternative housing often “move[s] into close

quarters in shared housing or other congregate settings” that pose a high risk of

transmission among household contacts. Id. at 55294. Due to potential crowding

and shared facilities, persons residing in homeless shelters may have difficulty

adhering to social distancing and other measures intended to prevent the spread

of COVID-19. Id. at 55294–95. Unsheltered homeless persons are at a higher risk

of infection due to lack of access to hygienic measures, sanitation, and medical

care, as well as exposure to the elements. Id.

      These are among the reasons that the Order imposing a temporary halt of




                                         30
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 41 of 59




residential evictions to combat the spread of COVID-19 constitutes a “reasonably

necessary” measure under the regulations, and is therefore within the broad

authority of the CDC, conferred by the PHSA, to undertake measures to protect

public health by preventing disease transmission.

      Plaintiffs argue that the Order falls outside CDC’s statutory and regulatory

authority because (1) various canons of construction cabin their otherwise broad

and clear language, Pls.’ Br. 18–22, and (2) regardless, the Order is not, in Plaintiffs’

view, a “necessary” measure, id. at 22–23.            In support of their statutory

construction argument, Plaintiffs’ essential contention is that the list of measures

CDC might take to prevent disease transmission limits the phrase “such measures

to prevent such spread of the diseases as he/she deems reasonably necessary” to

exclude temporary eviction moratoria. Pls.’ Br. 18–20. This argument fails.

      As an initial matter, the plain text of the regulation and its authorizing

statute were intentionally and clearly drafted to give the federal public health

authorities maximum flexibility to undertake measures that they deem necessary,

in light of their public health expertise, to prevent the interstate spread of disease.

See 42 U.S.C. § 264(a); 42 C.F.R. § 70.2. The terms of the statute—including the

examples of measures that the Secretary may adopt—invite the Secretary’s




                                           31
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 42 of 59




exercise of expert judgment to determine what regulations may be appropriate to

“prevent the introduction, transmission, or spread of communicable diseases.” 42

U.S.C. § 264(a). Indeed, Congress’s use of the phrase “such regulations as in his

judgment are necessary” shows that it intended to defer to agency expertise, as

“Congress knows to speak in plain terms when it wishes to circumscribe, and in

capacious terms when it wishes to enlarge, agency discretion.” City of Arlington v.

FCC, 569 U.S. 290, 296 (2013). This point is bolstered by the fact that, although

subsection (a) makes no mention of the Secretary’s ability to detain persons, it is

plainly contemplated as within the scope of what may be “necessary” in his

“judgment,” given the restrictions placed on any such regulations in subsections

(b) through (d). See 42 U.S.C. § 264(a)–(d).

      The regulation reflects Congress’s intent to provide flexibility in combatting

the spread of disease. See 42 C.F.R. § 70.2. It provides the CDC Director with

significant flexibility to “take such measures to prevent such spread of the diseases

as he/she deems reasonably necessary.” 42 C.F.R. § 70.2. In light of the textual

grant of broad authority to the Secretary and the CDC Director in the statute and

regulation, the Court should decline to impose an atextual constraint on the

measures that medical experts may deem necessary to protect the public health




                                         32
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 43 of 59




when neither Congress nor the agency did so explicitly.

      Moreover, the expansive language in the statute (and regulation) is

consistent with the Supreme Court’s recognition that “[w]hen Congress

undertakes to act in areas fraught with medical and scientific uncertainties,

legislative options must be especially broad and courts should be cautious not to

rewrite legislation.” Marshall v. United States, 414 U.S. 417, 427 (1974). Chief Justice

Roberts recently reaffirmed this principle in connection with the COVID-19

pandemic. See S. Bay Pentecostal Church v. Newsom, 140 S. Ct. 1613 (2020) (Roberts,

C.J., concurring) (observing that “[w]hen [state] officials undertake to act in areas

fraught with medical and scientific uncertainties, their latitude must be especially

broad”) (citation omitted).     This principle comports with legislative history

demonstrating that Congress used broad language in section 361 of the PHSA to

provide federal health authorities flexibility to respond to novel disease outbreaks.

See H.R. Rep. No. 78-1364, at 24–25.

      The canons of statutory construction that Plaintiffs invoke do not so

constrain the measures CDC may take as to preclude a temporary eviction

moratorium to prevent the spread of an easily transmissible, potentially deadly

disease. Plaintiffs principally rely upon the canon of ejusdem generis, or the idea




                                          33
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 44 of 59




that “when a general term follows a specific one, the general term should be

understood as a reference to subjects akin to the one with specific enumeration.”

Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 223 (2008) (quoting Norfolk & W. Ry. Co.

v. Am. Train Dispatchers Ass’n, 499 U.S. 117, 129 (1991)). Here, however, “the

structure of the phrase . . . does not lend itself to the application of the canon.” Id.

at 225. The regulation provides that the CDC Director “may take such measures

to prevent such spread of the diseases as he/she deems reasonably necessary,

including inspection, fumigation, disinfection, sanitation, pest extermination, and

destruction of animals or articles believed to be sources of infection.” 42 C.F.R.

§ 70.2. Rather than a catch-all phrase at the end of a list, the general term “such

measures” as are “reasonably necessary” is the baseline authority provided to the

Director. See id. The ensuing list of measures should therefore be understood as

examples of things that fall within his authority, not limits on it. This reading is

bolstered by the similar structure of the statute. There, the scope of the Secretary’s

authority to promulgate regulations, which includes regulations governing the

detention of persons, is not cabined by the later-inscribed list of measures that he




                                          34
        Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 45 of 59




may provide for in enforcing those regulations. 5 See 42 U.S.C. § 264(a).

        Even if this and other canons that Plaintiffs invoke were properly applied

here, however, the temporary eviction moratorium is not so different than the

actions contemplated in the statute or regulation as to exceed CDC’s authority.

The canon of ejusdem generis focuses on “the common attribute” of specific items

to aid in the interpretation of a “catchall phrase.” Ali, 552 U.S. at 225. In a similar

fashion, the noscitur a sociis canon “counsels that a word ‘gathers meaning from

the words around it.’” Babbitt v. Sweet Home Ch. of Cmtys. for a Great Or., 515 U.S.

687, 702 (1995) (quoting Jarecki v. G.D. Searle & Co., 367 U.S. 303, 307 (1961)). Here,

the regulation permits CDC to take a number of actions that constitute an intrusion

upon or seizure of an individual’s property, including “inspection,” “fumigation,”

and even “destruction,” where the Director deems it reasonably necessary to




5 The fact that the second sentence of subsection 264(a) places the phrase “as in his
judgment may be necessary” at the end of the list of possible measures the
Secretary may provide for does not alter this result. 42 C.F.R. § 70.2 is within the
scope of his authority under the first sentence of subsection (a), and in delegating
authority to CDC in the regulation, the Secretary has purposefully chosen
phrasing that makes clear the Director’s ability to take measures to prevent the
spread of disease according to his public health expertise is not unduly cabined by
the examples of possible measures listed in the regulation.




                                          35
        Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 46 of 59




prevent the spread of disease. 42 C.F.R. § 70.2. The temporary moratorium on

evictions is a comparable imposition on property in the interest of preventing

contagion.    And while the scale of the temporary moratorium is no doubt

expansive, it is entirely consistent with more extensive public health measures

enacted to combat the widespread and “historic” threat to public health COVID-

19 poses, such as border closures, travel restrictions, business closures, and stay-

at-home orders. See 85 Fed. Reg. at 55292; see also, e.g., League of Indep. Fitness

Facilities & Trainers, Inc. v. Whitmer, 814 F. App’x 125, 129 (6th Cir. 2020) (granting

emergency stay of injunction against state order closing fitness facilities due to

COVID-19); Auracle Homes, LLC v. Lamont, No. 20-00829, 2020 WL 4558682, at *21

(D. Conn. Aug. 7, 2020) (refusing to enjoin state eviction moratorium); TJM 64, Inc.

v. Harris, No. 20-02498, 2020 WL 4352756, at *8 (W.D. Tenn. July 29, 2020) (refusing

to enjoin local restrictions on businesses); Talleywhacker, Inc. v. Cooper, No. 20-218,

2020 WL 3051207, at *14 (E.D.N.C. June 8, 2020) (same).

        Nor does the rule of lenity apply here, as Plaintiffs have identified no

“grievous ambiguity or uncertainty” as to what the statute authorizes. 6 United



6 Theother canons to which Plaintiffs point are even less applicable. See Pls.’ Mot.
20–22. For example, the principle of “expressio unius est exclusio alterius,




                                          36
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 47 of 59




States v. Baldwin, 774 F.3d 711, 733 (11th Cir. 2014). Indeed, application of the rule

of lenity is not appropriate where, for example, “the statute’s text, taken alone,

permits a narrower construction” or where the “text creates some ambiguity,”

provided that the ambiguity could be resolved using traditional tools of statutory

interpretation. Abramski v. United States, 573 U.S. 169, 188 n.10 (2014).

      Plaintiffs’ disagreement with CDC’s finding that the Order is “reasonably

necessary” is equally misguided. They hypothesize, without any support, that

other public health measures could have been taken to curb the pandemic, or that

the effects of evictions and resulting homelessness on the spread of COVID-19 may

not be as drastic as the research cited by CDC suggests. Pls.’ Br. 22–23. But it is

not for Plaintiffs (or a reviewing court) to determine what is necessary to protect

the public health. See, e.g., FERC v. Elec. Power Supply Ass’n, 136 S. Ct. 760, 782




‘expressing one item of [an] associated group or series excludes another left
unmentioned,’” NLRB v. SW Gen., Inc., 137 S. Ct. 929, 940 (2017) (quoting Chevron
U.S.A. Inc. v. Echazabal, 536 U.S. 73, 80 (2002)), serves no use where “language
suggesting exclusiveness is missing” and the items referred to are instead
exemplars of what an interpretation “may include,” Echazabal, 536 U.S. at 81. And
as explained above, the Order falls within the plain language of the statute and the
regulation; Defendants need not ask the Court to rewrite their text to make it so.
See Mamani v. Berzain, 825 F.3d 1304, 1310 (11th Cir. 2016).




                                         37
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 48 of 59




(2016). Instead, such decisions are textually committed to the judgment of the

CDC Director. 42 C.F.R. § 70.2; see 42 U.S.C. § 264(a). And even if the Court were

to disregard the agency’s expert judgment, the term “reasonably necessary” does

not require that any one public health measure be a panacea in order to be

authorized under the regulation and statute. See Comm’r v. Heininger, 320 U.S. 467

(1943) (interpreting tax law’s reference to “necessary” business expenses as

covering those that are those “appropriate and helpful” to a business). The Order

here is a “reasonably necessary” measure to prevent the interstate spread of

COVID-19, as CDC found for all of the reasons explained above. See supra pp. 10–

13, 29–30. Plaintiffs are thus unlikely to succeed on the merits of their claim that

CDC has exceeded its authority in issuing the Order.

             b. CDC’s Order is not arbitrary and capricious.

      Plaintiffs are likewise unlikely to succeed on the merits of their claim that

the Order is arbitrary and capricious—which is largely a repackaging of their

argument that the Order is not reasonably necessary. Arbitrary and capricious

review is “exceedingly deferential.” Sierra Club v. Van Antwerp, 526 F.3d 1353, 1360

(11th Cir. 2008) (quoting Fund for Animals, Inc. v. Rice, 85 F.3d 535, 541 (11th Cir.

1996)). Under this standard, courts may not “substitute [their] judgment for the




                                         38
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 49 of 59




agency’s as long as its conclusions are rational.” Miccosukee Tribe of Indians of Fla.

v. United States, 566 F.3d 1257, 1264 (11th Cir. 2009). Agency action is arbitrary and

capricious only where “the agency has relied on factors which Congress has not

intended it to consider, entirely failed to consider an important aspect of the

problem, offered an explanation for its decision that runs counter to the evidence

before the agency, or is so implausible that it could not be ascribed to a difference

in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Although courts “may not

supply a reasoned basis for the agency’s action that the agency itself has not

given,” they will “uphold a decision of less than ideal clarity if the agency’s path

may reasonably be discerned.” Id. (internal citations omitted). Where an agency

“is making predictions, within its area of special expertise, at the frontiers of

science, . . . a reviewing court must generally be at its most deferential.” Balt. Gas

& Elec. Co. v. Nat. Res. Def. Council, Inc., 462 U.S. 87, 103 (1983).

      Plaintiffs claim that the Order is arbitrary and capricious for two reasons:

(1) CDC allegedly did not demonstrate that local measures were insufficient to

prevent the spread of COVID-19, and (2) CDC allegedly has not shown that the

eviction moratorium was “reasonably necessary” to prevent the spread of COVID-




                                           39
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 50 of 59




19. Pls.’ Br. 25–28. These contentions are unpersuasive.

      First, Plaintiffs ignore CDC’s explicit findings that measures in state and

local jurisdictions that do not provide protections for renters equal or greater than

the protections provided in the Order are insufficient to prevent the spread of

COVID-19. 85 Fed. Reg. at 55296. These findings are supported by evidence

presented in the Order—already discussed at length, see supra pp. 10–13, 29–30—

showing why CDC expects eviction moratoria to help to prevent the spread of

COVID-19. The Order also sets forth evidence that evictions contribute to the

spread of the disease. See id. The Order further notes that many States and

jurisdictions do not provide protections against evictions during the pandemic. 85

Fed. Reg. at 55296 n.36. Given CDC’s determination that eviction moratoria may

help to curb the spread of COVID-19, and that the absence of such measures is

likely to contribute to the interstate spread of the disease, its determination that

States lacking protection against evictions have taken insufficient measures is

satisfactory to trigger the CDC Director’s authority under 42 C.F.R. § 70.2.

      Plaintiffs’   second   arbitrary-and-capricious   argument     mirrors    their

argument that an eviction moratorium is not “reasonably necessary” within the

meaning of the regulation, and similarly fails. See supra pp. 37–38. By contending




                                         40
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 51 of 59




that CDC has not shown that an eviction moratorium is “the only appropriate

course” to control the spread of COVID-19, and asking why CDC took this

measure instead of regulating other activities that might spread COVID-19, see

Pls.’ Br. 26–28, Plaintiffs impermissibly ask this Court to substitute its judgment

for that of CDC. Such a request is contrary to the APA under any circumstances.

See, e.g., Miccosukee Tribe of Indians of Fla., 566 F.3d at 1264. But it is particularly

inappropriate here, where CDC’s public-health and disease-prevention expertise

provide the basis for its determinations. See Nat’l Parks Conservation Assoc. v. U.S.

Dep’t of the Interior, 835 F.3d 1377, 1384 (11th Cir. 2016) (“courts are required to

defer to conclusions reached by an agency that are base[d] on its specialized

expertise”). And the decision to impose an eviction moratorium is consistent with

both the judgment of Congress and that of numerous States. See supra p. 9. It can

hardly be irrational for CDC to reach the same conclusion.

              2. The Order Does Not Deny Plaintiffs Access to Courts.

      Nor does the CDC Order unlawfully deny Plaintiffs access to the courts.

Denial of access cases generally fall into two categories: those where the plaintiff

alleges that “systemic official action frustrates a plaintiff or plaintiff class in

preparing and filing suits at the present time,” Christopher v. Harbury, 536 U.S. 403,




                                          41
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 52 of 59




413 (2002), and those where the plaintiffs bring “claims not in aid of a class of suits

yet to be litigated, but of specific cases that cannot now be tried,” id. at 414.

Plaintiffs here presumably mean to bring a claim falling into the first category, but

their argument rests upon multiple misunderstandings of the Order.

      Most importantly, the Order does not prevent a landlord from filing an

eviction action in state court. First, the Order expressly permits eviction for

various reasons other than nonpayment of rent. See 85 Fed. Reg. at 55294 (property

damage, criminal activity, etc.). Second, nowhere does the Order prohibit a

landlord from attempting to demonstrate that a tenant has wrongfully claimed its

protections. And third, even where a tenant is entitled to its protections, the Order

does not bar a landlord from commencing a state court eviction proceeding,

provided that that actual eviction does not occur while the Order remains in place.

See id. at 55292 (“the order prevents these persons from being evicted or removed

from where they are living through December 31, 2020”); id. at 55293 (defining

“evict” as “to remove or cause the removal of”).               This case thus bears no

relationship to classic judicial access cases in which the plaintiff is entirely

deprived of a judicial forum because he cannot afford a filing fee. Cf., e.g., Boddie

v. Connecticut, 401 U.S. 371 (1971) (cited in Pls.’ Br. 29).




                                           42
        Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 53 of 59




       Nor does the Order constitute a “complete foreclosure of relief” on any

claim. See Harer v. Casey, 962 F.3d 299, 311–12 (7th Cir. 2020) (cited in Pls.’ Br. 28).

Where tenants fail to pay rent, nothing in the Order precludes landlords from

filing a breach of contract action seeking payment. Plaintiffs may prefer a different

remedy, but they plainly have access to a judicial forum. As one court explained

in rejecting a similar challenge to a state eviction moratorium, “Plaintiffs can still

sue their tenants for arrearages through a breach of contract action in the New

York Supreme Court—and the fact that is not their preferred remedy is of no

moment.” Elmsford, 2020 WL 3498456, at *16; see also id. at *17. The Order is also

temporary, see 85 Fed. Reg. at 55296, and “‘mere delay’ to filing a lawsuit cannot

form the basis of a Petition Clause violation when the plaintiff will, at some point,

regain access to legal process.” Elmsford, 2020 WL 3498456, at *16 (quoting Davis

v. Goord, 320 F.3d 346, 352 (2d Cir. 2003)); see also id. at *17.

       Finally, it bears emphasis that Plaintiffs’ fundamental contention—that the

federal government is powerless to delay a landlord’s eviction of a residential

tenant under state law—would have sweeping consequences.                  As just one

example, for the past eighty years, federal law has provided that members of the

armed forces may be entitled to a temporary stay of eviction proceedings under




                                            43
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 54 of 59




certain circumstances. See Soldiers’ and Sailors’ Civil Relief Act of 1940, Pub. L.

No. 76-861, 54 Stat. 1178 (1940) (codified as amended at 50 U.S.C. § 3951(b)(1)).

Defendants are unaware of any court that has even contemplated the possibility

that this provision is unconstitutional.

      C. The Injunction Plaintiffs Seek Is Contrary to the Public Interest.

      Finally, the balance of the harms overwhelmingly favors the government,

and the injunction Plaintiffs seek is manifestly contrary to the public interest. See

Nken v. Holder, 556 U.S. 418, 435 (2009) (pointing out that “[t]hese factors merge

when the Government is the opposing party”). CDC issued the Order to prevent

the spread of an easily transmissible, potentially serious, and sometimes fatal

disease that has infected over seven million and been reported as the cause of

death of over 200,000 persons within the United States. See 85 Fed. Reg. at 55292;

see also CDC COVID Data Tracker.

      Numerous federal courts have recognized the paramount public interest in

preventing the spread of COVID-19, including in connection with a state eviction

moratorium. See, e.g., Auracle Homes, 2020 WL 4558682, at *21 (“given the nature

of this pandemic, the balance of the equities and the public interest favor denying

a preliminary injunction”); TJM 64, 2020 WL 4352756, at *8 (refusing to enjoin local




                                           44
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 55 of 59




ordinance requiring closure of bars and clubs due to COVID-19 because such an

injunction “would not be in the public interest” and would “present a risk of

serious public harm and foster the continued spread [of the] COVID-19 virus”);

Talleywhacker, 2020 WL 3051207, at *14 (finding that “the public interest does not

weigh in favor of injunctive relief” in a situation “where defendant has taken

intricate steps to craft reopening policies to balance the public health and economic

issues associated with the COVID-19 pandemic,” and “neither the court nor

plaintiffs are better positioned to second-guess those determinations”).        This

Circuit has recognized that “it doubtlessly advances the public interest to stem the

spread of COVID-19.” 7 Swain v. Junior, 961 F.3d 1276, 1293 (11th Cir. 2020).

      Plaintiffs, on the other hand, are acting in their individual economic

interests. As demonstrated supra, they have not shown these interests will be

irreparably harmed by the temporary restrictions in the Order. And even if they

had, other federal courts have found that, due to the extraordinary nature of this

pandemic, the public interest in protecting health outweighs even serious




7 Indeed,this District recently continued a suspension of jury trials until January
2021 due to the ongoing spread of COVID-19. See General Order 20-01, Eighth
Amendment (ECF No. 19).




                                         45
          Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 56 of 59




economic harm to individual plaintiffs, including the complete loss of a business.

TJM 64, 2020 WL 4352756, at *8 (denying injunctive relief despite finding that

plaintiffs would suffer “devastating economic injury” as a result of COVID-19

closure orders); see also League of Indep. Fitness Facilities & Trainers, 814 F. App’x at

129 (finding that “[t]hough Plaintiffs bear the very real risk of losing their

businesses, the Governor’s interest in combatting COVID-19 is at least equally

significant”). In light of all of these considerations, the balance of the harms and

the public interest tilt decisively in favor of the government.

    IV.     Any Relief Granted Should Be Narrowly Tailored.

      Even if the Court were to disagree with Defendants’ arguments, any relief

should be no broader than necessary to provide Plaintiffs with relief and therefore

should extend only to plaintiffs who have standing to sue. 8 “A plaintiff’s remedy

must be tailored to redress the plaintiff’s particular injury,” Gill v. Whitford, 138 S.

Ct. 1916, 1934 (2018), and “injunctive relief should be no more burdensome to the

defendant than necessary to provide complete relief to the plaintiffs,” Madsen v.




8Although Plaintiffs purport to bring claims on behalf an organization with
nationwide membership, the NAA lacks standing, see supra pp. 17–18, and its
presence in this litigation thus cannot support any request for nationwide relief.




                                           46
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 57 of 59




Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994).

      Nationwide injunctions, in contrast, “take a toll on the federal court

system—preventing legal questions from percolating through the federal courts,

encouraging forum shopping, and making every case a national emergency for the

courts and for the Executive Branch.” Trump. v. Hawaii, 138 S. Ct. 2392, 2425 (2018)

(Thomas, J., concurring); see also, e.g., Holland v. Nat’l Mining Ass’n, 309 F.3d 808,

815 (D.C. Cir. 2002) (“Allowing one circuit’s statutory interpretation to foreclose

. . . review of the question in another circuit” would “squelch the circuit

disagreements that can lead to Supreme Court review.”). Here, the CDC Order is

being challenged in two other federal courts, underscoring why this Court should

not attempt to decide its legality for all parties and for all time. See KBW Inv. Props.

v. Azar, No. 20-4852 (S.D. Ohio); Tiger Lily LLC v. HUD, No. 20-2692 (W.D. Tenn.).

                                   CONCLUSION

      Plaintiffs’ motion for preliminary injunction should be denied.


Dated: October 2, 2020                         Respectfully submitted,

                                               JEFFREY BOSSERT CLARK
                                               Acting Assistant Attorney General




                                          47
Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 58 of 59




                                   ERIC BECKENHAUER
                                   Assistant Director, Federal Programs
                                   Branch

                                   /s/ Leslie Cooper Vigen
                                   LESLIE COOPER VIGEN
                                   Trial Attorney (DC Bar No. 1019782)
                                   Steven A. Meyers
                                   Senior Trial Counsel (NY Bar No.
                                   4823043)
                                   United States Department of Justice
                                   Civil Division, Federal Programs
                                   Branch
                                   1100 L Street, NW
                                   Washington, DC 20005
                                   Tel: (202) 305-0727
                                   Fax: (202) 616-8470
                                   E-mail: leslie.vigen@usdoj.gov

                                   Counsel for Defendants




                              48
       Case 1:20-cv-03702-JPB Document 22 Filed 10/02/20 Page 59 of 59




                       CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Local Rules 5.1 and 7.1(D), that I prepared the

foregoing brief using Book Antiqua, 13-point font.




                                         /s/ Leslie Cooper Vigen_____________
                                         LESLIE COOPER VIGEN
                                         United States Department of Justice


                          CERTIFICATE OF SERVICE

      I hereby certify I served this document today by filing it using the Court’s

CM/ECF system, which will automatically notify all counsel of record.




Dated: October 2, 2020


                                          /s/ Leslie Cooper Vigen
                                          LESLIE COOPER VIGEN
                                          United States Department of Justice
